                                                                                     Motion GRANTED.



     IN THE UNITED STATE DISTRICT COURT MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )            Criminal No. 3:10-00163-10
                                               )            Judge Trauger
DESHAUNE JONES                                 )


     MOTION TO JOIN AND SUPPLEMENT CO-DEFENDANT BROOKS’ MOTION TO
                        SUPPRESS TITLE III WIRETAP

       Comes now the Defendant, Deshaune Jones, by and through the undersigned counsel, and

moves this Honorable Court to allow him to Join in Supplement- Co-Defendant Brooks’ Motion

to Suppress Title III Wiretap (DE 685). In support of this Motion, Defendant would state that

the issues raised in Co-Defendant Brooks’ motion apply equally to Defendant Jones. As such, if

Defendant Jones filed a separate motion in this case, the information contained in that motion

would be largely redundant. Defendant Jones believes that his request will help promote judicial

economy in this case because the Government’s response could be consolidated and litigated at

the same time, and the issues to be resolved by this Honorable Court will be more clearly

defined.

       WHEREFORE, Defendant Jones requests this Honorable Court to enter an order

allowing him to join and supplement the motion filed by Co-Defendant Brooks.


                                                    Respectfully Submitted:

                                                     /s/ R. Lance Miller
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